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EXHIBIT A

Case

 

 

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NOR"_IH JERSEY BRAIN & SPINE CENTER, SUPERIOR COURT OF NEW JERSEY,
' LAW DIV., SOMERSET COUNTY

Plaintiff, DOCKET NO. SOM-L- ij §§ »16

VS.

AETNA LIFE INSURANCE CO.; AETNA Civil Action
HEALTH INC.; AETNA HEALTH

INSURANCE CO.; and ABC CORPS. l~l(),
COMPLAINT AND

Deféndarits. ' ' ' JURY DEMAND'V

 

 

Plaintiff, North Jersey Brain & Spine Center, by way of Complaint against

defendants, alleges as follows:
THE PARTIES

A~ W

`l. Plaintiff North Jersey Brain & Spine Center (“NJBSC”) is a medical
practice specializing in neurosurgical procedures and treatment of the brain and spinal
cord, and it has its primary office at 680 Kinderkamacl< Road, Suite 300, Oradell, New
Jersey 07649. At all relevant times, NJBSC Was an out-of~network, or non-participating,

healthcare provider that provided medically necessary medical and surgical services to

 

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seven (7) patientsl Who are covered under healthcare plans sponsored, funded, operated,
controlled and/or administered by defendantsl

B-I.h£_.l_)if§tl.£i.§_n_t.§

2. Dei`endant Aetna Life Insurance Co. maintains its corporate offices at 151
Farmington Avenue, Hartford, Connecticut 06156. lt is part of the Aetna brand, a group of
managed care companies consisting of plans providing healthcare coverage to members
and their dependents, as well as administrative services to self-funded plans. Its plans
provided out-of~network health and medical coverage in New Jersey to patients of
plaintiff

3. Defendant Aetna Health Inc., a New Jersey corporation, maintains its
corporate offices at 55 Lane Road, Fairiield, New Jersey 07004. lt is also part of the Aetna

Mbrand, ’a"group‘ ’of~'managed~e-are~ companies consisting oil plans providing healthcare
coverage to members and their dependents, as well as administrative Services to self~
funded plans. lts plans provided out-of-network health and medical coverage in New
Jersey to patients of plaintiff

4. Defendant Aetna Health Insurance Co. maintains its corporate offices at 333
Earle Ovington Boulevard, Suite 104, Uniondale, New York l 1553. lt is part of the Aetna
brand, a group of managed care companies consisting of plans providing healthcare
coverage to members and their dependents, as well as administrative services to self'
funded plans. lts plans provided out-of-network health and medical coverage in New

lersey' to patients of plaintiff

 

l To comply with HlPPA confidentiality and patient privacy, each patient will be identified
herein only by initials and his/her Aetna identification number.

 

 

 

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5. Aetna,2 upon information and belief, had discretionary control and authority
over the management of most, if not all, of the plans of the 7 patients to whom NJBSC
rendered services

6. Defendants ABC Corps. l-lO are at present unidentified, fictitious entities
that are self-funded plans or other plans providing healthcare coverage to their members
and/or their dependents, which on information and belief provide medical coverage in New
Jersey for medically necessary medical and surgical services

.IURISDICTION & VENUE

7. The Court has jurisdiction over defendants because they: (a) are New
Jersey residents, having incorporated in New Jersey or having headquarters or offices in
this State; (b) conduct business in the State of New Jersey and so deriving benefits and
privileges from“’this* State, including~but/~not~~iimited ~to,' contracting~~to prev-ide»~-healthcare
plans to residents of New Jersey or contracting to provide plans that permit members or
dependents to obtain medical care in New Jersey, and so are subject to New Jersey law,
regulation and oversight governing defendants’ health insurance plans; and/or (c) have
consented to the jurisdiction of New Jersey by registering and being authorized to do
business in this State.

8. The medical services at issue in this matter were rendered in New Jersey.

9. Venue is proper pursuant to Rule 4:3~2, as defendants actually do business

in Somerset County, New Jersey.

 

2 Aetna Life Insurance Co., Aetna Health Inc. and Aetna Health lnsurance Co. are referred to
herein collectively as “Aetna.”

 

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SUBSTANTIVE ALLEGATIONS

lO. At all relevant times, plaintiff NJBSC was an out-of-network, or non-
participating, healthcare provider that rendered the following medically necessary medical
and surgical services to the following seven (7) patients

ll. Patient S.Q. is covered by a plan insured and/or administered by defendants
(Aetna Member lD Wl77215835). ln September 201 5, S.Q. underwent authorized,
medically necessary spine surgery. ln agreeing to perform the surgery, NJBSC relied on
Aetna’s pre~authorization, expecting appropriate payment. NJBSC billed UCR charges,
but was the recipient of two different Aetna adjudications, one lower than the next,
resulting in not only significant underpayment but also a recoupment of a portion of that

underpayment In ‘February 2016, NJBSC filed an unsuccessful appeal to Aetna disputing

"i'ts"`un`der'p"aym'ent:’ " ’

12. Patient R.M. is covered by a plan insured and/or administered by defendants
(Aetna Member lD W208132326). ln October 2014, R.M underwent an authorized,
medically necessary cerebral angiogram and carotid artery segment pipeline embolization
and device placement In April 2015, R.M. underwent an authorized, medically necessary
follow-up angiogram. Following both services, NJBSC billed UCR charges, but was the
recipient of gross underpayment by Aetna. In April 2015, NJBSC attempted to resolve at
least some of the underpayment disputes with Aetna’s agent, Global Claims Services,
without success

13. Patient W.S. is covered by a plan insured and/or administered by defendants
(Aetna Member lD W460663210-02). In December 2014, W.S. underwent an authorized,

medically necessary stage 2 placement of a right-sided DBS battery for bilateral DBS

 

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electrodes for treatment of Parkinson’s disease Stage l of the procedure was previously
paid at UCR by Aetna. However, stage 2 was paid inconsistently at Medicare~based rates,
and thus was substantially underpaid. In January 2015, NJBSC filed an unsuccessful
appeal to Aetna disputing its underpayment

14. Patient E.R. is covered by a plan insured and/or administered by defendants
(Aetna Member ID W206304705). ln June 2015, E.R. arrived at the hospital emergency
room via ambulance and underwent emergent surgical treatment for a subarachnoid
hemorrhage NJBSC submitted UCR charges but was significantly underpaid for its
services In September 2015, NJBSC filed an unsuccessful appeal to Aetna disputing its

underpayment

15. Patient O.l. is covered by a plan insured and/or administered by defendants

“ ,, (‘Aetna“ MemberiID W02242'7‘7'3‘0):"“ ,lnApril 2014, O.l underwent faut~horized, medically

necessary surgery including an angiogram. NJBSC submitted a claim to Aetna for
reimbursement for the services rendered expecting to be paid 80% of its billed charged
pursuant to MultiPlan. Aetna, however, significantly underpaid the claim and did not
compensate plaintiff in accordance with the MultiPlan rate. ln July 2014, NJBSC filed an
unsuccessful appeal to Aetna disputing its underpayment

16. Patient B.R. is covered by a plan insured and/or administered by defendants
(Aetna Member ID Wl76464347). ln October 2013, B.R. underwent authorized,
medically necessary surgery that included the placement of a cervical spinal cord
stimulator. NJBSC submitted a claim to Aetna for reimbursement for the services
rendered, but only partial payment was made. Payment was improperly denied for certain

codes although it is undisputed that Medicare pays for said codes and Aetna considers

 

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Medicare the “gold standard” authority when processing claims ln December 2013,

NJBSC filed an unsuccessful appeal to Aetna disputing its underpayment

17. Patient C.C. is covered by a plan insured and/or administered by defendants
(Aetna Member‘lD)W153555595). ln July 2013, C.C. underwent authorized, medically
necessary surgery that included a craniotomy. NJBSC submitted UCR charges for
payment. Aetna, however, denied payment falsely concluding that the patient’s no~fault
benefits should cover treatment despite the fact that NJBSC provided unequivocal
evidence that C.C.’s rio-fault benefits had been exhausted ln 2014, NJBSC attempted to

resolve this disputed claim amicably and directly with Aetna’s law department, but to no

avail.

18. With respect to each patient referenced above, NJBSC had the patient

‘ complete`"f`orrn's“"o"r"oth"erdocuments providing"his/her insurance information N~JB~SC'~also

created documents detailing the procedures performed, including operative reports,
insurance information and amounts due. Plaintiff then submitted clean, timely and proper
claims to defendants, including the necessary information and supporting`documents.

19. With respect to each patient and claim referenced above, at all relevant 4
times defendants provided the patients with out-of-network coverage, emergency services
coverage and/or authorized the services rendered, thus permitting the patients to seek
treatment from NJBSC. Preauthorization, or preapproval, is not required when an out-of-
networl< provider is rending emergency, urgent or related services

20. Depending on the type of services rendered, pursuant to New Jersey law
and regulations, defendants are obligated to pay NJBSC lOl)% of plaintiffs billed usual,

customary and reasonable (“UCR”) fees,' less the patient’s copay, coinsurance or

 

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deductible, if any, for emergency services and/or is required to make payment to plaintiff
within the time period set forth in the Healthcare Inforrnation Networl<s and Technologies
Act (“HINT”) and the Health Claims Authorization, Processing and Payment Act
(“HCAPPA”), i.e., 30 days for electronic claims and 40 days for non-electronic claims for
all services

21. The UCR fee is defined as, or is reasonably interpreted to mean, the amount
that out-of~network providers, like plaintiff, normally charge to patients in the free market,
i.e., without an agreement with an insurance company or other payor to reduce such a
charge in exchange for obtaining access to Aetna’s members and beneficiaries The UCR
fee means the usual charge for a particular service by providers in the same geographic

area with similar training and experience (a north New Jersey neurosurgical practice).

 

22.` l-lowever, defendants systematically failed to i`ssue"“pr’o'per' payment for'the
medical and surgical services rendered by plaintiff Instead, defendants issued gross
underpayment and/or no payment at all and/or engaged in improper recoupment of prior
payments ln making improper payments, defendants’ actions or inactions were unlawful,
improper and arbitrary because defendant(s) failed to calculate the amount of the payment
in accordance with the plans of the patients and/or the requirements of New Jersey
statutory, regulatory and/or common law.

23. With respect to the patients and claims referenced above, as well as a matter
of regular business practice, plaintiff NJBSC engaged in regular communications and
discussions with Aetna and its agents (e.g., Global Claim Services) regarding coverage,
reimbursement negotiation of disputes, and other issues; plaintiff submitted its claims

directly to Aetna; these provider-submitted claims were processed by Aetna; when Aetna

 

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issued (under)payments, it issued direct reimbursement to NJBSC; Aetna issued
Explanation of Benefit statements (“EOBs”) directly to NJBSC; and NJBSC undertook and
engaged in numerous appeals of Aetna’s reimbursement and payment decisions

24. ln addition to the standard means for resolving reimbursement and payment
disputes with Aetna (and in an effort to avoid balance billing the patients), NJBSC engaged
in extended, direct negotiations via telephone and email with various Aetna employees,
including an Account Manager and an Escalated Specialist, in an effort to reach a global
resolution and address Aetna’s systematic practice and/or policy of grossly underpaying
for emergency medical services rendered by NJBSC, including claims at issue in this
matter, and to avoid litigation However, Aetna became nonresponsive and broke off the
negotiations

25. "With'respect to the'patients“and claims referenced above, plaintiff exhausted
defendants’ appeal process by filing repeated and numerous appeals, and also by engaging
in direct global negotiations with various Aetna employees

26. Aetna’s appeal process is also futile, and plaintiff has not been provided
access to a meaningful review process Plaintiff made repeated and exhaustive efforts to
address defendants’ systematic failure to` issue proper payment or comply with New Jersey
law. However, Aetna refused to issue proper payment, to respond to plaintiffs
communications or to alter its/their policy With respect to the claims at issue in this matter.
Further appeals would be futile.

27. Throughout the parties’ course of dealings and numerous forms of
communication and interaction, Aetna voluntarily and freely engaged with and dealt

directly with NJBSC. Nor did Aetna ever advise, reference or disclose to NJBSC any

 

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impediment to dealing directly with plaintiff to resolve these and other reimbursement
disputes NJBSC relied in good faith on Aetna’s conduct and the parties’ course of

dealing

28. By and through this lawsuit, NJBSC now seeks damages due to defendants’
actions

29. All of the subject claims arise from New Jersey state common, statutory and
regulatory law, and not from any purported federal law or statute Plaintiff has asserted
direct claims and causes of action that are not predicated on an assignment of benefits from
the patient

30. The claims in this lawsuit dispute the reimbursement amounts paid by

defendants and thus do not arise under or implicate federal subject matter jurisdiction

 

 

 

under the Employee"R“etir'e'ment‘lncome Security Act (ERISA), or any other federal or
statutory regulatory scheme. This lawsuit addresses defendants’ failure to provide the
appropriate amount of coverage to the patients and defendants’ failure to properly
reimburse plaintiff for its services to those patients There is no dispute that all of
defendants’ plans at issue provide coverage for the patients and the medical and surgical
services rendered by plaintiff that are in dispute.

Y`_l&S_T_Q_O_U..Nl
(Breach of Implied Contract)

31. Plaintiff repeats and realleges each and every allegation set forth above as if
set forth in full herein.
32. Defendant(s) indicated, by a course of conduct, dealings and the

circumstances surrounding the relationship, to NJBSC that defendant(s) would pay for

 

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medical and surgical services provided, including the emergency services provided by
NJBSC, based on the terms of the patient’s healthcare plan(s) and applicable law.

33. Defendants represent that their members and beneficiaries are covered for
out-of-network treatment and/or emergency care (where rendered), that they may go to any
doctor or emergency room when they need emergency care, and that they will only be
responsible to pay the plan’s copayments, coinsurance and deductibles at an in-network
level when emergency services are rendered.

34. In addition, defendants were paid premiums by the members for healthcare
coverage and, pursuant to said premiums, were legally obligated to maintain and provide
an adequate network of sufficient physicians including qualified neurosurgeons and other
specialists to satisfy the medical needs of defendants’ member/dependent population

3'5. Fuither; Aetn'a', "'u"p“on’ information and belief, reviewed~and approved the
standard provider agreement of MultiPlan, Inc. (“MultiPlan”). Aetna also knew that
NJBSC entered into such an agreement, and that the agreement states that plaintiff is
entitled to reimbursement at the rates set forth therein. Defendants used the MultiPlan
network, but failed to properly reimburse plaintiff in accordance with the MultiPlan
provider agreement

36. Aetna and the other defendants also know that New Jersey providers like

NJBSC, are required by law to treat defendants’ members and beneficiaries if they require

l emergency or related medical care

37. Defendant(s) further indicated, by a course of conduct, dealings and the
circumstances surrounding the relationship, to' NJBSC that defendant(s) would pay the

usual, reasonable and customary (“UCR") amounts based upon what other healthcare

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providers of the same specialty in the same geographic area charge for the services

rendered by NJBSC.

38. Defendant(s) also indicated, by a course of conduct, dealings and the
circumstances surrounding the relationship, to NJBSC that the term “reasonable and
customary,” “reasonable and fair,” “prevailing rate,” or similar terms are consistent with
the standard that healthcare plans pay for out-of-network coverage.

39. Defendant(s) further indicated, by a course of conduct, dealings and the
circumstances Surrounding the relationship, to NJBSC that they would properly pay for
services they indisputably cover including where exhaustion of underlying primary
coverage has already occurred and where procedures are properly paid under l\/Iedicare
policy and/or guidelines

'4'0: ~NJ'B»S€' rendered medically necessary surgical and medical services to
patients covered under the healthcare plan(s) of defendant(s), and in doing So, plaintiff

reasonably expected defendant(s) to properly compensate plaintiff

41. A reasonable person in the position of defendant(s) would know or
reasonably should have known that plaintiff was performing the services expecting that
defendant(s) would pay for them appropriately.

42. Despite indicating to NJBSC by a course of conduct, dealings and the
circumstances surrounding the relationship that defendant(s) would properly reimburse
plaintiff for either its actual charges as an out»of-network provider or its UCR rate,
defendant(s) failed to do so.

43. The failure of defendant(s) to pay the reasonable value of services

constitutes breach of the implied contract between defendant(s) and NJBSC.

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44. As a result of this breach, NJBSC has been damaged

WHEREFORE, plaintiff demands judgment against defendants for:

a) Compensatory damages;
b) lnterest;
c) Costs of suit;

d) Attorneys’ fees; and
e) Such other relief as the Court deems equitable and just.

SECOND COUNT
(Breach of the Covenant of Good Faith & Fair Dealing)

45. Plaintiff repeats and realleges each and every allegation set forth above as if
set forth in full herein.

46. The law implies in every contractual relationship, including that between
plaintiff and defendants, a covenant of good faith and fair dealing. Defendants are required
to act in a manner that is consistent with plaintiffs reasonable expectations

47. Defendant(S) acted with an improper motive and injured plaintiffs rights
and benefits under the contract, and breached the contract through acts of commission and
omission described herein that are wrongful and without justification

48. As a result of this breach, NJBSC has been damaged
WHEREFORE, plaintiff demands judgment against defendants for:

a) Compensatory damages;

b) lnterest;

c) Costs of suit;

d) Attorneys’ fees', and

e) Such other relief as the Court deems equitable and just.

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THIRD COUNT
(Unjust Enrichment & Quantum Meruit)

49. Plaintiff repeats and realleges each and every allegation set forth above as if

set forth in full herein.

50. Def`endants have enriched themselves unjustly at the expense of plaintiff
NJBSC.

51. At all relevant times defendants refused to pay NJBSC correctly for the
medical services it provided to its patient(s) covered under plans sponsored, funded,
insured and/or administered by defendant(s), contrary to the insurance provided by the
respective plan(s) to the members and dependents and contrary to the common law,
statutory and regulatory obligations of defendant(s).

'52~;' ~Defendants~were¢paidpremiums.by the members for out-of¢network,and/,or
emergency services coverage and, pursuant to said premiums defendants Were legally
obligated to provide such coverage to plan members and their dependents

53. To satisfy its coverage and legal obligations defendants required the
services of NJBSC to render medical services, including emergency and urgent medical
care where applicable Plaintiff did, in fact, render such surgical services to defendants’
members and their dependents

54. Defendants have, therefore, received and retained a benefit as a result of
plaintiff rendering medical services that remain grossly underpaid. Thus, Aetna and the
other defendants have been unjustly enriched through the use of funds that earned interest
or otherwise added to their profits when said money should have been paid in a timely and

appropriate manner to plaintiff

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55. As a result cf defendants’ unjust enrichment, plaintiff has suffered damages
WHEREFORE, plaintiff demands judgment against defendants for:

a) Compensatcry damages; l

b) lnterest;

c) Costs of suit;

d) Attorneys’ fees; and

e) Such other relief as the Court deems equitable and just.

M
(Interference with Economic Advantage)

56. Plaintiff repeats and realleges each and every allegation set forth above as if

set forth in full herein.

57. Plaintiff had a reasonable expectation of economic advantage or benefit
belonging¢or accruing to the plaintiff

58. Defendant(s) knew, or reasonably should have known, of plaintiffs
expectancy of economic advantage

59. Defendant(s) wrongfully interfered with plaintiffs expectancy of economic
advantage or benefit

60. But for defendants’ wrongful act, it is reasonably probable that plaintiff would
have realized its economic advantage or benefit

61. As a result, NJBSC has been damaged

WHEREFORE, plaintiff demands judgment against defendants for:

a) Compensatory damages;
b) lnterest;

c) Costs of suit;

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d) Attorneys’ fees; and
e) Such other relief as the §oun deems equitable and just
FIFTH COUNT
(Violations of New Jersey Regulations Governing Payment for Emergency
Services Rendered by an Out-of~l\ietwork Provider)
62. Plaintiff repeats and realleges each and every allegation set forth above as if
set forth in full herein.
63. New Jersey’s health insurance regulations require that, when a privately-
insured patient seeks emergency services, an out-of-network provider must be paid a large
enough amount to ensure that the patient is not balance billed, that is, charged for the

difference between the insurer reimbursed amount and the provider’s billed charges This

so~called “emergency room mandate” applies even if it means that the healthcare insurer

must»pay~the~~provider- -its actual~billed¢charges minus the copayments,,/coinsurance and

deductibles that would have applied had the patient sought treatment from an in-network

provider.

64. Plaintiff has a private right of action, express or implied, to prosecute its

claim under these regulations

65. Aetna is obligated to pay NJBSC one-hundred percent (lOO%) of plaintiffs
UCR fees, less the patient’s applicable copay, coinsurance or deductible pursuant to
MQ_ ll:22-5.8, ll:24'5.3, 11:24~5.1, and ll:24'~9.l(d).

66. Contrary to New Jersey healthcare regulations however, Aetna has not
properly paid for the emergency surgical services rendered and plaintiff s bills remain

outstanding for those services that were emergent in nature

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67, As a result of Aetna’s violations of these health insurance regulations and
related legal obligations plaintiff has been damaged
WHEREFORE, plaintiff demands judgment against defendants for:
a) Compensatory damages;
b) lnterest;
c) Costs of suit;
d) Attorneys’ fees; and
e) Such other relief as the Coutt deems equitable and just

SIXTH COUNT
(Violations of HINT & HCAPPA)

68. Plaintiff repeats and realleges each and every allegation set forth above as if
set forth in full herein.

697l Pursuant to the Healthcare lnforrnation Networks and Technologies Act
(“HINT”),M l7B:30-23, 17:48~8.4, l7:48A-7.12, l7:48E-10.l, l7B:26~9.l, l7B:27-
44.2 and 26:2]~8.1, and the corresponding regulations, MQ_ ll:ZZ-l, et seq., Aetna is
required to remit payment to a healthcare provider for an “eligible” non-capitath claim for
medical services no later than thirty (3 O) calendar days following electronic receipt of the
claim by Aetna, or forty (40) calendar days following non-electronic receipt of the claim
by Aetna. in the alternative Aetna is required to notify the provider within seven (7)
calendar days of the specific reasons for a denial or dispute, and to expeditiously request
any missing information or documentation required to process the claims, pursuant to the
Health Claims Authorization, Processing and Payment Act (“HCAPPA”).

70. Plaintiff has a private right of action, express or implied, to prosecute its

claims under HINT, HCAPPA and their regulations

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71. All overdue payments must bear simple interest at the rate of twelve (12)
percent per annum, pursuant to HCAPPA.

72. Despite its statutory duties, Aetna as a matter of practice and/or policy
delayed payment of properly submitted claims from plaintiff and did not pay the claims
correctly or at all, and then did not pay interest on delayed payments By delaying
payment of a claim, Aetna earned and continues to earn profits from its use of the funds,
profits that it would not have earned or continued to earn if payment were made in a timely
manner.

73. NJBSC has submitted “clean” or “eligible” non-capitated claims that Aetna
failed to pay within the prescribed statutory time period despite numerous attempts by
plaintiff to address and resolve these issues with Aetna. These practices by Aetna are in
violation .of.HlN.T..and HCAP_PA,

74. As a result of Aetna’s violations of HINT and HCAPPA, plaintiff has been
damaged
WHEREFORE, plaintiff demands judgment against defendants for:

a) Compensatory damages;

b) Interest;

c) Costs of suit;

d) Attorneys’ fees; and

e) Such other relief as the Court deems equitable and just

SEVENTH COUNT
(Business Libel)

75. Plaintiff repeats and realleges each and every allegation set forth above as if

set forth in full herein.

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business libel.

a)
b)
C)
d)
€)
f)

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76. Aetna published statements to plaintiffs patients and others that are
derogatory and harmful to plaintiffs business and professional reputation for the purpose
of destroying or harming plaintiffs business

77. These statements to third~parties published in Aetna’s plan documents state
that use of Aetna’s in-network physicians will “improve care” and is tied to “better health
outcomes,” communicating to Aetna’s members and beneficiaries that out-of-network
physicians like NJBSC, provide worse or lesser medical care than Aetna’s in~network
providers In addition, Aetna published to third-parties harmful statements in its EOBS,
which issue gross underpayments indicating to patients that NJBSC’s billed charges are
incorrect and/or excessive, and which are calculated to tarnish plaintiffs reputation and/or
to ruin plaintiffs business

18..¢ fAetna?.s.plan documents and./EOBS .were.,disseminated to NJBSC’spatients.-

79. Plaintiff has suffered economic damages as a direct result of defendants’

WHEREFORE, plaintiff demands judgment against defendants for:

Compensatory damages;
Punitive damages;
Interest;

Injunctive relief;

Costs of suit;
Attorneys’ fees; and

Such other relief as the Court deems equitable and just

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CERTIFICATION PURSUAN'I` TO RULE 4:5-1(b12_

ERIC D. KATZ, of full age, hereby certifies that:

l I am a partner with the law firm of Mazie Slater Katz & Freeman, LLC,
attorneys for plaintiff in this action.

2. To the best of my knowledge the matter in controversy is not the subject of
any other action pending in any Court or any pending arbitration proceeding

3. There is, however, a related action filed by plaintiff against Aetna and
others, captioned: North Jersev Brain & Spine Center v. Aetna Life Ins. Co., et al., Docket
No.: SOM-L-OOOI74, and it is respectfully requested that the within matter be assigned to
the same pre-trial judge for handling

4. No other actions or arbitration proceedings are contemplated by this
plaintiff against the pled defendants at this time y 2

5. l know of no other parties that should be joined in this action at this time,

other than those as fictitious defendants pled as ABC Corps. l-lO that may be identified in

the course of discovery.

l certify that the foregoing statements made by me are true. I am aware that if the

foregoing statements made by me are willfully false, l am sub'ect to punishment
./"
./

;/” 2

ERIC D. KATZ

  

 

DATED: February l7, 2016

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Case 2:16-cV-01544-W.]I\/|-I\/|F Document 1-1 Filed 03/17/16 Page 21 of 26 Page|D: 27

David A. Mazie’

Adam M. Slater’°

Eric D. Katz‘°

David M. Freeman

Beth G. Baldinger°
Matthew R. Mendelsohn°

'Certificd by the Supxemc Court of
New jersey as o Civil Trial Atwmey

Clerk of the Court

MAZIE SLATER KATZ & FREEMAN, LLC
COUNSELLORS AT LAW
103 Eisenhower Parkway

Roseland, N} 07068

(973) 228-9898
Fax (973) 228»0303
www.mskf.net

Writer`s Direct Dial: 973-228'015]

February 26, 2016

Somerset County Superior Court

20 'N‘. "Bri'd ge Street

Somerville, New Jersey 08876

Re:

Dear Sir/Madam:

N. Jersey Brain & Snine Ctr. v. Aetna Life Ins. Co., et al.
Docket No.: SOM-L-248-l6

Karen G. Kelsen°
Cheryll A. Calderon
David M. Estes
Adam M. Epstein°
Jessica CM Almeida°

 

°M¢mb¢r ofN.J. siN.Y. am

Enclosed please find an original and one (l) copy of an Affidavit of Diligent Inquiry with
regard to the above matter. Kindly file the enclosed document and return a conformed copy to

me in the self~addressed stamped envelope provided

Thank you for your assistance in this matter.

EDK/av
Enclosures

Very tmlyj)®

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ERIVC.'-D;'t_</Arz

cc: Aetna Health, lnc. (w/encl.)

Case 2

16-cv-01544-W.]|\/|-|\/|F Document 1-1 Filed 03/17/16 Page 22 of 26 Page|D: 28

Eric D. Katz j Atty. No. 016791991

David M. Estes j Atty. No. 0345320l l

MAZIE SLATER KATZ & FREEMAN, LLC
103 Eisenhower Parkway

Roseland, New Jersey 07068

P: 973-228-9898

F: 973-228-0303

E: nae@ns_l_<.__mer
Atlorneysfor Plaintz'jjf

 

NORTH JERSEY BRAIN & SPINE CENTER, SUPERIOR COURT OF NEW JERSEY,
LAW DIV., SOMERSET COUNTY

Plaintiff, DOCKET NO. SOM-L-248-l6

VS.

AETNA LIFE INSURANCE CO.; AETNA Civil Action
HEALTH INC.; AETNA HEALTH

INSURANCE CO.; and ABC CORPS. l-lO,
AFFIDAVIT OF DILIGENT

Defendants. INQUIRY

 

 

 

 

STATE OF NEW'JERSEY )
) SS:

COUNTY OF ESSEX )
ERIC D. KATZ, of full age, hereby certifies as follows:

l. l am an attorney-at-law of the State of New Jersey and a partner with the

law firm of Mazie Slater Katz & Freeman, attorneys for plaintiff in the above-captioned

matter.

2. Our research indicates that the defendant Aetna Health, Inc. address is located

at 980 Jolly Road, Blue Bell, PA 19422 and our research did not uncover a New Jersey

address appropriate for service

 

Case 2

 

 

16-cv-01544-W.]|\/|-|\/|F Document 1-1 Filed 03/17/16 Page 23 of 26 Page|D: 29

3; Service upon defendant, Aetna Health, Inc. will therefore have to be made

in accordance with B_. 4:4-4(b)(l)(C).

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Sworn and subscribed to before me on this
day ofFebruary 2016

xii 1,-»\ law (/sN

A Notary Publil: ofNew Jersey

 
 

tRACE¥ ANN COBA
Notary Pub\`\C

State ot New Jersey .

My Commtsslon EXp_HQ$,,$?P 171 29,129,, , ,,

  
 

  
   

hale D. KATZ

 

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40 NORTH BRIDGE STREET

isr ann Po sex 3000
soMnerLLa NJ 03876-1262

TRACK Assrcnnenr Norrca
counr TsLEPnoNE Nof (908) 231-7054
couRr nouRs 8:30 AM - 4=30 PM

DATE: FEBRUARY 19, 2016
RE: NORTH JERSEY BRAIN VS AETNA
DOCKET: SOM L ~000248 16

THE ABOVE CASE HAS BEEN ASSIGNED TO: TRACK 2.

DISCOVERY IS 300 DAYS AND RUNS FROM THE FIRST ANSWER OR 90 DAYS
FROM SERVICE ON THE FIRST DEFENDANT, WHICHEVER COMES FIRST.

THE PRETRIAL JUDGB ASSIGNED IS: HON THOMAS C. MILLER

IF YoU HAVE ANY oUEsTroNs, CoNTAcT TEAM 001
AT= (908) 203-6034.

rr ron BELrnvE THAT run TRACK rs rNAPPRoPRrArn You Musr Frnn A
caRTIFICATIoN oF coon cAUsn wITHIN 30 DAYS oF ran FILING oF YoUR PLEADING.
PLAINTIFF Musr snnvn coPrEs or ans FoRM on ALL organ PARTrEs IN AccoRnANcE
wrrn R.4;5A-2.
ATTENTION;

ATT; ERIC D. KATZ

MAer shares KATZ a FREEMAN

103 nrsENnownR PARKWAY

RosELANn vNJ 07068

JUTPUSO

Case 2:16-cV-01544-W.]I\/|-I\/|F Document 1-1 Filed 03/17/16 Page'25 of 26 Page|D: 31

 

 

 

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ClVlL CASE lNFORMATlON STATEMENT__, _ PAYMENTY E; CK CG' CA
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Use for initial Law Divislon Anounr:

 

 

Civil Part pleadings (not motions) under Rule 4:5-1
Pleading will be rejected for tillng, under Rule 1:5-6(c), OvERPAYMENr: ij
if information above the black bar is not completed

 

 

 

 

 

 

 

 

or attorney’s signature is not affixed BATCH NUMBER?… `/

ATrORNEY / Pno se NAME TELEPHONE N`uMBER couNTY OF vENUE

Eric D. Katz (973) 228-9898 Somerset
FlRM NAME (if applicable) DOCKET NUMBER (when availab|e)
Mazle Slater Katz & Freeman, LLC l '__Q_ng, [(p
oFFlcE AooRt-:ss occuMé'NT TYPE

103 Eisenhower Parkway, 2nd Flcor Compjaint

Roseland, New Jersey 07068

JuRY DEMAND l YEs [] No

 

 

NAME oF PARTY (e.g., Johr_\ Doe. Plaintifr) ‘ cAPTloN
North Jersey Brain & Spine Center North Jersey Brain & Spine Center v. Aetna l_lfe lnsurance Co.; Aetna
Health lnc., Aetna Health lnsurance Co.; and ABC Corps. 1-10

 

CASE TYPE NUMBER HURR!CANE SANDY

 

 

 

(See reverse side for listing) RELATED? lS THlSA PROFESSlONAL MALPRACT!CE CASE? l'_`l YES l NO
599 m YES . N° lF YOU HAVE QH,EC_,,KE,D_, ‘_‘Y,ESJ,SEEN-J- S~A.._zarsaa 121 ANQAEEuc/_\BLE CASE LAvv
" “ fm ' " REGA/RD'IN'G“YOUR OBLlGATlON TO FILE AN AFF|DAV|T OF MER|T.
RELATED CASES PENDING? lF YES, LlST DOCKET NUMBERS
ll Yes ill NO SOM-l_-174-16
DO YOU ANTlClPATE ADDING ANY PARTlES NAME GF DEFENDANT’S PR|MARY lNSURANCE COMPANV (if known)
(an‘slng out of same transaction or occurrence)? m NONE

   

   
 

l UNKNowN

 

l YEs [] No
THE lNFORlVlAT|ON PROV|DED CN THIS FORM CANNOT BE |NTRODUCED |NTC EV|DENCE.
CASE CHARACTER!ST|CS FOR PURPOSES OF DETERM|N|NG IF CASE |S APPROPR|ATE FOR MED|AT|ON

     
   

   

 

 

 

 

DCl PART|ES HAVE A CURRENT. PAST OR lF YES, lS THAT RELAT|ONSHlP:

RECURRENT RELAT|ONSH|P? [] EMPLoYER/EMPLOYEE C] FR:END/NE|GHBOR [j OTHER (explain)
il YEs [] No [] FAMluAL l BuslNEss

DOES THE STATUTE GOVERNING TH|S CA,SE PROVlDE FOR PAYMENT OF FEES BY THE LOSING PARTY? l:l YES l NO

 

USE THlS SF‘ACE TOALERT THE COURT TO ANY SPEClAL CASE CHARACTER|ST[CS THAT MAY WARRANT lNDlV|DUAh MANAGEMENT OR
ACCELERATED DlSPOSlTlON

 

 

k Do You 0R vouR cLiENT NEED ANY ctsAelLer AccoMMonAnoNs? lF YEs, PLBASE lcENuFY THE aeQuEsTEc AccoMMooAnoN
[:] Yss i No .
Wn.L AN lNTERPRETER as NEEDED? v lF YEs, FoR wHAr LANGuAGE?
El YEs i NO

 

 

l certify that confidential personal identifiers hagt?been redacted from documents now submitted to the court, and will be
redacted from all documents submitted in the/fur re in accordance with Rule 1:38-7(b).

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ATTORNEY S |GNATURE:

 

 

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Eneciive 05~04_2015, cN 10517~English A/”” page 1 Qr2

 

Case 2:16-Cv-01544-W.]l\/|-l\/|F Document 1-1 Filed 03/17/16 Page 26 0126 Page|D: 32

 

ClVlL CASE lNFORMAT|ON STATEl\/IENT
<cls)

Use for initial pleadings (not motions) under Rule_4:5-1

 

 

CASE TYPES (Choose one and enter number of case type in appropriate space on the reverse side.)

Track l - 150 days' discovery
151 NAME CHANGE
175 FORFE|TURE

302 TENANCY
399 REAL PROPERTY (other than Tenancy, Contract. Condemnatlon, Complex Comrnercial or Construction)

502 BOOK ACCOUNT (debt collection matters only)

505 OTHER lNSURANCE CLA|M (lnc|uding declaratory judgment actions)
506 PlP COVERAGE

510 UM or U|M CLA|M (ooverage issues on|y)

511 ACT|ON ON NEGOTIABLE lNSTRUMENT

512 LEMON LAW

801 SUMMARV ACT|ON

802 OPEN PUBL\C RECORDS ACT (summary action)

999 OTHER (brlefiy describe nature of action)

Track ll - 300 days‘ discovery
305 CONSTRUCT|ON
509 EMPLO¥MENT (other than CEPA or LAD)
599 CONTRACT/COMMERC|AL TRANSACTION
603N AUTO NEGLIGENCE - PERSONAL |NJURY (non-verbal threshold) \
603Y AUTO NEGL|GENCE ~ PERSONAL iNJURY (verbal threshold) '
605 PERSONAL lNJURY
610 AUTO NEGLlGENCE - PROPERTY DAMAGE
621 UM or U|M CLA|M (inc|udes bodily injuiy)
699 TORT - OTHER

Track lll - 450 days' discovery
`06`5'“ C|ViL“"R“lG'HTS' “
301 CONDEMNATlON
602 ASSAULT AND BATTERY
604 MED|CAL MALPRACT\CE
606 PRODUCT LIAB|LITY
607 PROFESS|ONAL MALPRACT|CE
608 TOX|C TORT
609 DEFAMAT|ON
616 Wi-llSTLEBLOWER l CONSClENT|OUS EMPLOYEE PROTECT|ON ACT (CEPA) CASES
617 INVERSE CONDEMNATlON
618 LAW AGAlNST D|SCRlMlNATlON (LAD) CASES

Track |V » Active Case Management by individual Judge / 450 days' discovery
156 ENVIRONMENTAUENVIRONMENTAL COVERAGE LlTlGAYlON
303 MT. LAUREL
508 COMPLEX COMMERC|AL '
513 COMPLEX CONSTRUCTlON
514 lNSURANCE FRAUD
620 FALSE CLAlMS ACT
701 ACT|ONS lN LlEU OF PREROGAT|VE WRlTS

Multicounty Litigation (Track lV)

271 ACCUTANE/|SOTRET\NOIN 4 289 REGLAN

27_4 RlSPERDAL/SEROQUEUZYPREXA 290 POMPTON LAKES ENVlRONMENTAL LlTlGATlON

278 ZOMETA/ARED!A 291 PELV|C MESH/GYNECARE

279 GADOLlNlUM 292 PELVlC MESH/BARD

281 BRlSTOL-MYERS SQU|BB ENV|RONMENTAL 293 DEPUY ASR HlP lMPLANT L|T|GATlON

282 FOSAMAX_ _ 295 ALLODERM REGENERAT]VE T|SSUE MATRIX

285 STRYKER TR|DENT HlP IMPLANTS 296 STRYKER REJUVENATE/ABG ll MODULAR H|P STEM COMPONENTS
286 LEVAQUIN 297 MlRENA CONTRACEPT|VE DEVICE

287 YAZ/YASM|N/OCELLA 601 ASBESTOS

288 PRUDENTIAL TORT l_lTlGATlON 623 PROPEC|A

lf you beiieve this case requires a track‘other than that provided above,' please indicate the reason on Side 1,
in the space under 'fCase Characteristics.

Please check off each applicable category [:] Putative Class Action [:l Tit|e 59

 

 

 

Etiective 05-04-2015, CN 10517-English page 2 Df 2

